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                                                                        BY:
                                                                              ArielGuzman
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Case: 1:21-cr-00698 Document #: 13 Filed: 11/24/21 Page 2 of 11 PageID #:62




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                                           DLE DISTRICT OF FFLORIDA

                                  BY:
                                        ArielGuzman
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           Case
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                                   UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION

                                                 CLERK'S MINUTES
CASE NO.    8:21-mj-2147-AAS                             DATE:      November 23, 2021

HONORABLE     AMANDA ARNOLD SANSONE                      INTERPRETER      N/A
                                                         LANGUAGE

UNITED STATES OF AMERICA                                    AUSA Maria Guzman
v.                                                       Government Counsel

RONALD T. MOLO                                              AFPD Percy King
Defendant                                                Defense Counsel

COURT RPTR/TAPE      Digital                             DEPUTY CLERK     Cathy Morgan

TIME   2:13 – 2:40             Total - 27 min.           COURTROOM            10B

PROCEEDINGS: INITIAL APPEARANCE/NORTHERN DISTRICT OF ILLINOIS

  X          Deft provided w/copy of          Indictment
  X          ARREST DATE:                   November 23, 2021
  X          Court summarized charges
  X          Court advises of Deft's Rule 5 rights
  X          Financial Affidavit submitted for approval
  X          FPD appointed for all purposes in this district (def. has retained counsel in Illinois)
  X          Defendant waives identity hearing
  X          Govt position on release – signature bond
  X          Court sets a $25,000 signature bond
  X          Pretrial Services supervision
  X          Mental health evaluation and/or treatment. This condition may be reviewed by Pretrial Services
             or the court for the Northern District of Illinois
  X          Surrender passport
  X          Travel enlarged to the Northern District of Illinois – where charges are pending
  X          No new passport


Comments:

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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No. 8:21-mj-2147-AAS
                                                        Case No. 1:21-cr-698
RONALD T. MOLO



                                    ORDER OF REMOVAL

            The defendant, Michael Webb, having been apprehended in the Middle District

of Florida, Tampa Division, on a warrant issued in the Northern District of Illinois,

subsequently having been released on bond, the Defendant is hereby,

            ORDERED to appear telephonically in the United States District Court for the

Northern District of Illinois, located at the Everett McKinley Dirksen United States

District Courthouse, 219 South Dearborn Street, Chicago, Illinois, on Thursday,

December 2, 2021 at 2:00 p.m. for his status hearing before Judge Harjani.

            ORDERED at Tampa, Florida this 23rd        day of November, 2021




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       AND CORRECT COPY OF THE ORIGINAL
                CLERK OF COURTT
          UNITED
              ED STATES DISTRIC
                         DISTRICT COURT
           MIDDLE
               DLE DISTRICT OF FFLORIDA

      BY:
            ArielGuzman
             rielGuzman
